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                       IN THE UNITED STATES DISTRICT COURT
                        FOR THE NORTHERN DISTRICT OF OHIO
                                 EASTERN DIVISION

 BRYAN J. PESTA,                       )      CASE NO. 1:23-CV-00546-DAP
                                       )
                        Plaintiff,     )      JUDGE DAN AARON POLSTER
                                       )
         v.                            )
                                       )
 LAURA BLOOMBERG, in her official )           MOTION TO WITHDRAW AS COUNSEL
 and individual capacities; and HARLAN )
 M. SANDS, BENJAMIN WARD,              )
 CHRISTOPHER MALLETT, CONOR )
 McLENNAN, and WENDY                   )
 REGOECZI, in their individual         )
 capacities.                           )
                                       )
                        Defendants.    )

       Now comes Paul Neel and hereby respectfully moves this Court to withdraw as counsel for

Defendants Laura Bloomberg, Harlan Sands, Benjamin Ward, Christopher Mallett, Conor

McLennan, and Wendy Regoeczi (“Individual Defendants”) due to his departure from Perez &

Morris, LLC. Attorneys Karen L. Giffen and Kerin Lyn Kaminski will continue to represent the

Individual Defendants in this matter.

                                           Respectfully submitted,

                                           /s/ Paul J. Neel
                                           Karen L. Giffen (0042663)
                                           Kerin Lyn Kaminski (0013522)
                                           Paul J. Neel (0100581)
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                                           Counsel for all Defendants
    Case: 1:23-cv-00546-DAP Doc #: 71 Filed: 09/20/24 2 of 2. PageID #: 3950




                              CERTIFICATE OF SERVICE

      I hereby certify that on September 20, 2024, the foregoing was served upon all counsel of

record by means of the Court’s CM/ECF system.



                                                  /s/ Paul J. Neel
                                                  Paul J. Neel (0100581)




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